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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA
§
VS' ) Case No. 4:18-cr-lO3-002
CARLOS OTAVIO GUIMARAES, §
)
Defendant, §
)

APPEARANCE BOND
Defendant’s Agreement

I, Carlos Otavio Guimaraes (defendam), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
( lX\ ) to appear for court proceedings;

( |Z ) if convicted, to surrender to serve a sentence that the court may impose; or
( )to comply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond

( [:l ) (l) This is a personal recognizance bond.
( [:l ) (2) This is an unsecured bond of $__ .
( ig ) (3) This is a secured bond of $1,000,000.00 , secured by:

( ® ) (a) Sl 000 000.00 , in cash deposited with the court.

 

( l:l ) (b) the agreement of the defendant and each surety to forfeit the following cash or other

property (describe the cash or other property, including claims on it- such as a lien, mortgage, or loan -

and attach proof of ownership and value).'DA TED this 9th day of March, 201 8.

If this bond is secured by real property, documents to protect the secured interest

may be filed of record.

( m ) (C) a bail bond With a SOlV€nf Slll‘€ty (attach a copy of the bail bond, or describe it and identijj) the
surety)l

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Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the
above agreement The court may immediately order the amount of the bond surrendered to the United
States, including the security for the bond, if the defendant does not comply with the agreement. At the
request of the United States, the court may order ajudgment of forfeiture against the defendant and each
surety for the entire amount of the bond, including interest and costs.

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be
satisfied and the security will be released when either: (l) the defendant is found not guilty on all charges,
or (2) the defendant reports to serve a sentence.

Declarations

Ownership of the Property. l, the defendant - and each surety - declare under penalty of perjury that:

(l) all owners of the property securing this appearance bond are included on the bond;

(2) the property is not subject to claims, except as described above; and

(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce
its value while this appearance bond is in effect.

Acceptance. I, the defendant ~ and each surety - have read this appearance bond and have either read all
the conditions of release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant- and each surety - declare under penalty of perjury that this information is true.
(See 28 U.S.C. § 1746.)

 
   
 

Date:`(\\*\ 4¢£¢4*_ Z, ZO/&

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Surety/property owner - printed name Surety/property owner - signature and date

Surety/property owner - printed name Surety/property owner ~ signature and date

Surety/property owner ~ printed name Surety/property owner - signature and date
CLERK OF COURT

Date; 3 Q- l% CA!M

Signature;fC/erk or Deputy Clerk

 

Approved.

Dare: fA'Zl\$ '_D€}~Q\ QM'_-_-

Judge ’s signature

 

